                 Nos. 25-1018, 25-1019, 25-1024

   In the United States Court of Appeals
           for the Fourth Circuit
                       J EFFERSON G RIFFIN ,
                                       Petitioner-Appellee,
                                 v.
         N ORTH C AROLINA S TATE B OARD OF E LECTIONS ,
                                       Respondent-Appellant,
                                and
                     A LLISON R IGGS , ET AL .,
                                       Intervenors-Respondents.



         On Appeal from the United States District Court
            for the Eastern District of North Carolina

                   OPPOSITION TO STAY

Mark M. Rothrock                      William T. Thompson
LEHOTSKY KELLER COHN LLP               Counsel of Record
8513 Caldbeck Drive                   Kyle D. Hawkins
Raleigh, NC 27615                     LEHOTSKY KELLER COHN LLP
(336) 416-3326                        408 W. 11st Street, 5th Floor
mark@lkcfirm.com                      Austin, TX 78701
                                      (512) 693-8350
                                      kyle@lkcfirm.com

                                      Counsel for Petitioner-Appellee
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                              I NTRODUCTION
    The Board’s stay request is fundamentally unsound because it asks this

Court to stay an event that has already happened. On January 6, the district

court remanded these actions to the North Carolina state courts, where

Judge Griffin originally brought them. The district court below consum-

mated and effectuated that remand through the issuance of a formal order

and accompanying letter. See Mot. App’x at 31. At that very moment, the

federal district court lost—and the North Carolina courts reacquired—juris-

diction. 28 U.S.C. § 1447(c); see Bryan v. BellSouth Commc’ns, Inc., 492 F.3d 231,
241 (4th Cir. 2007) (“the state court regained jurisdiction when the district

court remanded . . . to state court”); Arnold v. Garlock, Inc., 278 F.3d 426, 438

(5th Cir. 2001) (“Once the remand order is certified and mailed, however, the

matter remanded is removed from federal jurisdiction.”). Recognizing the

need for “expeditious[]” resolution, the Supreme Court of North Carolina

stayed the Board’s certification of the 2024 election for Seat 6 on the Supreme

Court of North Carolina and set an expedited schedule to complete briefing

by January 24, 2025. See Mot. App’x at 91-92. Indeed, Petitioner’s opening

brief is due today. See id.

    This Court can no more stay the effectuated remand order below than it

can stay publication of last Monday’s New York Times. The Board’s lead case

confirms as much. The Board relies on Forty Six Hundred LLC v. Cadence Ed-

ucation, LLC, 15 F.4th 70, 79 (1st Cir. 2021), to support the need to “preserve
the Board’s right to appeal,” Mot. at 5. But Cadence itself recognizes that once

a remand has already occurred, “there [i]s nothing left for [the appellate]

court to stay,” which is why the appellant there wisely withdrew its stay

motion. 15 F.4th at 73 n.2. And the so-called “retrieval” relief that court or-

dered came at the judgment stage, following plenary review on the merits.

The Board does not cite a single case—and Judge Griffin knows of none—in

which a federal appellate court purported to stay a remand order that had
already been effectuated.

    Not only can a stay not stop an event that has already happened—it also

cannot compel a district court to request the “retrieval” of a case currently

being litigated and briefed in state courts. Stays exist merely to stop a lower-

court decision from “taking effect.” Nken v. Holder, 556 U.S. 418, 425 (2009);

see also id. at 429 (explaining that, unlike an injunction, a stay does not “di-
rect[] an actor’s conduct”). Here, the relevant decision has already “tak[en]

effect.” Id. at 425. The office of the stay simply does not contemplate injunc-

tive-style orders commanding the district court to take affirmative acts, and

the Board cites no example to the contrary.

    A stay is thus off the table. In any event, the Board’s request fails because

each Nken factor weighs against a stay. First, the Board is unlikely to prevail

on appeal because the district court correctly abstained from deciding com-

plicated questions of state law. And there are multiple independent bases to

affirm the decision below, as the district court lacked removal jurisdiction.

Second, the Board faces no harm absent a stay; a stay that somehow purports

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to block an event that already occurred will have no impact on anything or

anyone. Finally, the public interest and equities all counsel against the im-

position of a stay that will impact nothing, and they all counsel in favor of

the correct application of North Carolina law and a swift resolution of the

merits of this case.

    The application for a stay should be denied.

                              B ACKGROUND
    Judge Griffin’s briefing on the administrative stay sets out the relevant

background. See Dkt. 17. The only relevant addition to that history is that,
after the parties’ completed briefing on the administrative-stay motion, this

Court entered an order “defer[ring] all other motions pending oral argu-

ment,” which is set for January 27, 2025. Dkt. 33.

                         S TANDARD OF R EVIEW
    The Board’s motion for a stay fails to explain this Court’s standard of
review. The extraordinary remedy of a stay pending appeal “is not a matter

of right, even if irreparable injury might otherwise result.” Nken, 556 U.S. at

433 (citation omitted). As “[t]he party requesting a stay,” the Board “bears

the burden of showing that the circumstances justify” a stay based on four

factors: “(1) whether the stay applicant has made a strong showing that he

is likely to succeed on the merits; (2) whether the applicant will be irrepara-

bly injured absent a stay; (3) whether issuance of the stay will substantially




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injure the other parties interested in the proceeding; and (4) where the public

interest lies.” Id. at 433-34 (citation omitted).

     Because the Board challenges a decision committed to the district court’s

sound discretion, it cannot prevail absent “a strong showing” that the dis-

trict court abused that discretion. Id. at 434 (citation omitted). “This Court

reviews a district court’s decision to abstain for abuse of discretion.” Hennis

v. Hemlick, 666 F.3d 270, 274 (4th Cir. 2012). This standard of review is highly
deferential, see Air Evac EMS, Inc. v. McVey, 37 F.4th 89, 101 (4th Cir. 2022),

and a district court’s exercise of discretion is permissible “even if an appel-

late court suspects that it might have ruled otherwise in the first instance,”

First Penn-Pacific Life Ins. Co. v. Evans, 304 F.3d 345, 348 (4th Cir. 2002).

                                  A RGUMENT

I.   A stay is substantively and procedurally improper.
     The Board’s motion for a stay should be dead on arrival because a stay
is unavailable in this context. First, the remand has already occurred, and

“there [i]s nothing left for this court to stay.” Cadence Educ., 15 F.4th at 73 n.2.

A stay thus “would be pointless” and “a futile gesture.” Int’l Found. for Ge-

netic Rsch. (Michael Fund) v. Shalala, 57 F.3d 1066 (4th Cir. 1995) (per curiam)

(unpublished table decision); see also GenCorp, Inc. v. Olin Corp., 477 F.3d 368,

376 (6th Cir. 2007) (“issuing a stay now would be a futile exercise of our eq-

uitable powers”). Second, the Board does not identify a status quo that the

stay would maintain. Third, the Board neither sought a stay in district court



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nor showed why doing so would have been impracticable, in violation of

Rule 8.

    A.    This case has already been remanded, so a stay would not
          accomplish anything.
    Because stays exist to prevent a district court’s order from “taking ef-

fect,” they should not issue when an order has gone into effect, as is the case

here. Nken, 556 U.S. at 425; see also United States v. Texas, 144 S. Ct. 797, 798

(2024) (Barrett, J., concurring in denial of applications to vacate stay) (ex-
plaining that stays generally exist to prevent a district court’s order from

“go[ing] . . . into effect”). The office of a stay is to “temporarily divest[] an

order of enforceability.” Nken, 556 U.S. at 428; see also id. at 428-29. But the
district court’s remand order is not some ongoing injunction—it was a sin-

gular act with an immediate effect that has already been completed and con-

summated, as the Board admits. Mot. at 5 (“[T]he district court has already
returned this case to state court”); id. at 22 (“[T]he district court also imme-

diately entered an order effecting that remand”). Just as a court “cannot stay

the execution of a judgment that already has been executed,” GenCorp, 477

F.3d at 376, neither can this Court stay execution of an interlocutory order

that already has been executed.

    The Board’s contrary argument rests primarily on two cases, but both

cases counsel against a stay. First, the Board relies on Cadence Education, but

as noted above, Cadence Education recognizes that once the remand has al-

ready happened, “there [i]s nothing left for this court to stay.” 15 F.4th at 73


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n.2; accord Brown v. Pacific Life Ins. Co., 462 F.3d 384, 392 (5th Cir. 2006) (noting

that, aside from any “future proceedings” in federal court, “there was noth-

ing left for the district court to stay” after it had remanded an action to state

court). Moreover, just three years later, in United States v. Sastrom, the First

Circuit declined to extend Cadence Education’s remedy to a transfer case

where “[t]he likelihood of this process providing any practical benefit to [the

movant] is remote.” 96 F.4th 33, 40 (1st Cir. 2024).
    Here, because there is no “formal procedural mechanism for the re-

trieval of a removed case erroneously returned to a state court,” the most

this Court could do following full plenary review on the merits is order the

district court to “request the[] return” of the remanded cases. Cadence Educ.,

15 F.4th at 80 (citation omitted); but see Nken, 556 U.S. at 429 (indicating that

stays do not provide a court of appeals with authority to “direct[] an actor’s
conduct”). But there is no reason to believe the state courts would send the

cases back. And there is every reason to believe they will not: They have

already expended judicial and party resources exercising their jurisdiction,

issuing orders, and directing the parties to prepare briefs to resolve ques-

tions of state law. Indeed, Judge Griffin’s opening brief in his case before the

Supreme Court of North Carolina is due today. Mot. App’x at 92. The Board

emphasizes that the Supreme Court decided to proceed “expeditiously” “in

the absence of a stay from federal court,” id. at 91, but that supports Judge

Griffin’s point: The Supreme Court determined that it could hear the merits

of Judge Griffin’s petition because the federal court had not entered a stay of

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its order before the remand took effect. It does not suggest that the Supreme

Court would voluntarily transfer jurisdiction back to the federal district

court (even assuming such a procedure existed) based on issuance of a

“stay” order at this point.

    Second, the Board cites Republican National Committee v. North Carolina

State Board of Elections, but in that case, the district court “stayed remand un-

til [a date certain] to allow for [an] appeal.” No. 24-2044 (4th Cir. Oct. 21,
2024), Dkt. 21 at 5-6. Here, the district court did not impose a stay but instead

effectuated the remand due to the urgency of the pending preliminary in-

junction motion—leaving nothing to stay.

    The Board cites no case in which a federal appellate court stayed a re-

mand that had already happened. Judge Griffin is aware of no such case. The

reason is obvious—no such relief is available.

    B.    The Board does not identify the status quo that a stay would
          maintain pending appeal.
    The purpose of a stay is to “suspend[] judicial alteration of the status

quo.” Nken, 556 U.S. at 429 (citation omitted). But the Board neither identifies

the status quo it is trying to maintain in its motion for a stay, nor in the reply

it filed to its motion for an administrative stay. That is because when the

Board filed its stay motion in this Court, the case had already been trans-

ferred to the North Carolina state courts, and those courts had already exer-

cised that jurisdiction to issue orders. As things stand today, this case is




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being actively litigated in state courts. The Board’s requested stay will thus

upend the status quo.

    C.    The Board failed to seek relief in district court and does not
          show that moving first in the district court would have been
          impracticable.
    Last, the Board failed to follow Rule 8’s directive to “move first in the

district court” for a stay, Fed. R. App. P. 8(a)(1)(A), and that is an additional

basis to deny relief, see, e.g., SEC v. Dunlap, 253 F.3d 768, 774 (4th Cir. 2001)

(explaining that movant’s failure to move first in the district court for a stay

or explain why doing so was impracticable “constitutes an omission we can-
not properly ignore” and thus denying the motion); see also Whole Woman’s

Health v. Paxton, 972 F.3d 649, 654 (5th Cir. 2020) (“The State’s failure to show

the impracticability of moving first in the district court is sufficient grounds
to deny its motion.”); Hirschfeld v. Bd. of Elecs. in City of N.Y., 984 F.2d 35, 38

(2d Cir. 1993) (explaining that by not first moving for a stay in the district

court, the movant failed to “follow proper appellate procedure in their mo-

tion for a stay”).

    Despite the Board now having had two opportunities to address its fail-

ure to follow appellate procedure—both in its motion and its reply in sup-

port of an administrative stay—the Board’s only argument on this point is

contained in a single footnote. There, it asks the Court to overlook this defect

by claiming that the district court’s immediately effective remand order

“den[ied] the Board the opportunity to seek a stay in district court.” Mot. at


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11 n.3. But that undercuts the very premise of the Board’s stay motion: If the

district court had no power to enter a stay post-remand, then neither does

this Court. If the Board thinks otherwise, it does not explain why or cite a

single case in support.

II. The Nken factors do not support a stay.
    The Board has not carried its burden on any of the Nken factors. The

Court should therefore deny its motion for a stay pending appeal.

    A.    The Board is unlikely to succeed on the merits of its appeal.
    The Board is unlikely to prevail on appeal because the district court did

not abuse its discretion by abstaining in favor of the Supreme Court of North

Carolina in a case centered on state-law disputes “of statewide significance.”
D.E. 1-5 at 44. Moreover, this Court can affirm on an alternative ground—

the district court lacked removal jurisdiction under section 1443(2).

          1.   The district court properly abstained from resolving Judge
               Griffin’s complex questions of state law.
    For at least three reasons, the district court properly exercised its discre-

tion to abstain under Burford v. Sun Oil Co., 319 U.S. 315 (1943), and Louisiana

Power & Light Co. v. City of Thibodaux, 360 U.S. 25 (1959).

    First, the district court correctly found that this case involves difficult

and “unsettled questions” of state election law that “lie at the heart of state

sovereignty and [the] right to self-government.” D.E. 50 at 23-24. The an-

swers to those questions “could sway the outcome of a state election and

affect the right to vote” in “future state elections.” Id. at 24 (emphasis in

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original). Judge Griffin’s protests raise serious state-law questions that the

Supreme Court of North Carolina has not “conclusively” decided. Wise v.

Circosta, 978 F.3d 93, 101 (4th Cir. 2020). And those provisions are part of a

complex state-law framework governing state elections—a “matter commit-

ted primarily to the control of states.” Hutchinson v. Miller, 797 F.2d 1279,

1280 (4th Cir. 1986). That makes this a classic case for abstention, one pre-

senting “difficult questions of state law bearing on policy problems of sub-
stantial public import whose importance transcends the result in the case

then at bar.” Johnson v. Collins Ent. Co., 199 F.3d 710, 719 (4th Cir. 1999) (cita-

tion omitted).

    Second, the district court held that deciding this case would force it to

make “’a dubious and tentative forecast’” about unsettled state-law ques-

tions, risking the creation of a “’patchwork of inconsistent interpretations.’”
D.E. 50 at 24 (citations omitted). Abstention is appropriate when a federal

decision “would be disruptive of state efforts to establish a coherent policy

with respect to a matter of substantial public concern.” Johnson, 199 F.3d at

719 (citation omitted). That applies doubly in this case, where the wrongful

removal of this case to federal court prevented the Supreme Court of North

Carolina from giving an authoritative answer to those state-law questions.

With the Supreme Court of North Carolina “ready to act,” abstention made

sense. Wise, 978 F.3d at 103; see also Mot. App’x at 91-92.

    Third, the district court concluded that the “primacy of state law issues”

and the “relatively tenuous federal interest” in this case favored abstention.

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D.E. 50 at 24-25; Johnson, 199 F.3d at 723 (“[T]he predominance of state law

issues affecting state public policy” should cause federal courts to exercise

“caution.”). Indeed, Judge Griffin’s protests and petition arise under state

laws, none of which “implicate federal elections.” D.E. 50 at 25; see generally

D.E. 1-4. And the federal statute supposedly justifying removal here applies

only to federal elections, see 52 U.S.C. § 20507, so its connection to this case

is “dubious.” D.E. 50 at 25. The district court therefore correctly abstained.
    Although the Board did not respond to Judge Griffin’s abstention argu-

ments below, its motion for a stay raises several arguments for the first time.

As an initial matter, this Court should “decline to address” the Board’s new

arguments because the Board “failed to raise the issue to the district court.”

Wards Corner Beauty Acad. v. Nat’l Accrediting Comm’n of Career Arts & Scis.,

922 F.3d 568, 578 (4th Cir. 2019).
    In any event, the Board’s arguments fail. The Board first contends that

abstention does not apply in cases removed under section 1443, see Mot. at

14, but there is no such exception to the Supreme Court’s abstention prece-

dents. There are multiple decisions abstaining in section 1443 removals. See

Neal v. Wilson, 112 F.3d 351, 356 (8th Cir. 1997) (“[a]lternatively” affirming a

decision to abstain in a case purportedly removed under section 1443); Sones

v. Simpson, No. 4:10-cv-2475, 2010 WL 5490801, at *5 (M.D. Pa. Dec. 3, 2010),

report & recommendation adopted, 2011 WL 13666 (M.D. Pa. Jan. 4, 2011) (ab-

staining under Younger “[e]ntirely aside from . . . the scope of 28 U.S.C. §

1443”). The Board’s sole authority is an old, out-of-circuit decision that

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devoted a single sentence of dicta to the topic even though the parties did

“not address abstention” on appeal. Greenberg v. Veteran, 889 F.2d 418, 422

(2d Cir. 1989).

    Next, the Board argues that abstention is categorically inappropriate in

voting-rights cases, see Mot. at 15-16, but this Court recently chose to abstain

in just such a case. See Wise, 978 F.3d at 100-03 (abstaining under Pullman in

a vote-dilution case). Other courts likewise “have stated that ‘traditional ab-
stention principles apply to civil rights cases,’ including election-law cases

involving important and potentially dispos[i]tive state-law issues.” Tex.

Democratic Party v. Abbott, 961 F.3d 389, 397 n.13 (5th Cir. 2020) (citation omit-

ted). Judge Costa, then of the Fifth Circuit, was quick to declare a recent

Texas voting-rights case “a textbook case for Pullman abstention.” Id. at 417

(Costa, J., concurring in the judgment); see also id. at 418 (rejecting argument
“that Pullman does not apply to voting rights cases”); see also Moore v. Hose-

mann, 591 F.3d 741, 745 (5th Cir. 2009); Harrison v. NAACP, 360 U.S. 167, 176-

77 (1959). “[I]t is clear that there is no rule” providing “that there should not

be abstention in civil rights cases.” 17A Federal Practice and Procedure § 4242

(3d ed.) (collecting cases).

    The Board also cites this Court’s recent decision in Republican National

Committee v. North Carolina State Board of Elections (“RNC”) and further con-

tends that federal interests predominate because North Carolina has a “’uni-

fied’” registration system for federal and state elections and because some of

the state statutes underlying Judge Griffin’s claims “relate[]” to federal laws.

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Mot. at 18 (quoting 120 F.4th 390, 401-02 (4th Cir. 2024)). But as this Court

explained in RNC, that unified system implicated federal law only because

the plaintiffs in that case raised challenges related to both state and federal

elections. See RNC, 120 F.4th at 399 (indicating that the plaintiffs’ claims im-

plicated voter registrations for both state and federal elections); id. at 401

(“Plaintiffs filed their Complaint 74 days before the November federal elec-

tion[.]” (emphasis added)). This case, however, involves only a state election.
None of the federal statutes cited by the Board apply to state elections, and

none of the relevant state statutes incorporate federal law by reference.

See D.E. 49 at 14-17.

    Further, the Board argues that Burford abstention is inappropriate be-

cause this case does not present “difficult” questions of state law. Mot. at 19

(citation omitted). But Judge Griffin’s claims require resolution of complex
issues, such as whether the photo identification requirements in Article 20

of the General Statutes apply to overseas absentee voters casting ballots un-

der Article 21A, or whether N.C. Gen. Stat. § 163-258.2 violates the residency

requirement in Article VI, § 2(1) of the state constitution. See generally D.E. 1-

4. “None of the parties have suggested or argued that state courts have al-

ready settled [these] issue[s] conclusively.” Wise, 978 F.3d at 101. And inter-

pretation of this complex system of state election laws necessarily implicates

the need for uniform treatment of a “local problem.” New Orleans Pub. Serv.,

Inc. v. Council of City of New Orleans, 491 U.S. 350, 362 (1989). Although the

Board would have a federal court decide these state constitutional and

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statutory questions, that would run afoul of the “comity” concerns that un-

derlie the abstention doctrines. D.E. 50 at 20-21 (citation omitted); see Erie Ins.

Exch. v. Md. Ins. Admin., 105 F.4th 145, 149 (4th Cir. 2024) (explaining that

“comity” is a “vital consideration” when determining whether abstention is

appropriate); see also Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 723 (1996)

(“Federal courts abstain out of deference to the paramount interests of an-

other sovereign, and the concern is with principles of comity and federal-
ism.”); Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 106 (1984) (“[I]t

is difficult to think of a greater intrusion on state sovereignty than when a

federal court instructs state officials on how to conform their conduct to state

law.”); Minnesota v. Nat’l Tea Co., 309 U.S. 551, 557 (1940) (explaining that it

is “fundamental” that state courts should be “left free and unfettered by [fed-

eral courts] in interpreting their state constitutions”).
    Finally, the Board takes issue with the district court’s invocation of

Thibodaux. But the district court merely noted Thibodaux’s reasoning that fed-

eral courts should abstain in “cases raising issues intimately involved with

the State’s sovereign prerogative” supported its decision to abstain under

Burford. D.E. 50 at 21, 24. That application of Thibodaux squares with this

Court’s explanation that “[o]verlapping rationales motivate these doctrines

and considerations that support abstaining under one will often support ab-

staining under another.” Martin v. Stewart, 499 F.3d 360, 364 (4th Cir. 2007);

see Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 11 n.9 (1987) (“The various types of

abstention are not rigid pigeonholes into which federal courts must try to fit

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cases”). Indeed, for that very reason, Pullman abstention further supports the

district court’s decision to remand and provides an alternative basis to affirm

its decision. D.E. 49 at 6-8; see Educ. Servs., Inc. v. Md. State Bd. for Higher Educ.,

710 F.2d 170, 174 (4th Cir. 1983) (explaining that Pullman abstention is ap-

propriate where “there is (1) an unclear issue of state law presented for de-

cision (2) the resolution of which may moot or present in a different posture

the federal constitutional issue such that the state law issue is ‘potentially
dispositive’.”).

                                      *   *    *

     The Board has not demonstrated any error in the district court’s absten-

tion analysis, and even if this Court thought it “might have ruled otherwise

in the first instance,” that is not enough to show an abuse of discretion war-

ranting reversal. Evans, 304 F.3d at 348.

          2.   There is at least one alternative basis to affirm the decision
               below.
     Regardless of how this Court views the abstention issue, the district

court’s decision is likely to be affirmed on appeal for at least one independ-

ent and alternative reason: Removal under section 1443(2) was jurisdiction-

ally improper. The Court “may affirm on any ground supported by the rec-

ord” even if the district court did not adopt it. United States v. Williams, 56

F.4th 366, 371 n.4 (4th Cir. 2023).

     By its terms, section 1443(2) applies only when a defendant is sued “for
refusing to do an[] act,” not when a defendant is sued for acting affirmatively


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or threatening to do so. 28 U.S.C. § 1443(2) (emphasis added). A “state court

action” is not removable when it “is not brought against the . . . Defendants

‘for refusing to do’ anything.” Common Cause v. Lewis, 358 F. Supp. 3d 505,

510 (E.D.N.C. 2019), aff’d, 956 F.3d 246 (4th Cir. 2020).

    Judge Griffin’s petition does not challenge any refusal to act. By request-

ing “a writ of prohibition to stop the State Board of Elections from counting

unlawful ballots,” it seeks to prevent the Board from taking unlawful action.
D.E. 1-4 at 14. It does not seek “to punish [the Board] for refusing to do any

act.” Detroit Police Lieutenants & Sergeants Ass’n v. City of Detroit, 597 F.2d 566,

568 (6th Cir. 1979) (affirming remand to state court); see also McQueary v. Jef-

ferson County, 819 F.2d 1142 (6th Cir. 1987) (per curiam) (unpublished table

decision) (state officials who were sued for firing employees could not in-

voke § 1443(2) because they were not being sued for “refusing to do any act
inconsistent” with federal law); Wolpoff v. Cuomo, 792 F. Supp. 964, 968

(S.D.N.Y. 1992) (the refusal clause does not allow “legislators who are sued

because of the way they cast their votes[] to remove their cases to federal

courts”); Mass. Council of Constr. Emps., Inc. v. White, 495 F. Supp. 220, 222 (D.

Mass. 1980) (holding section 1443(2)’s refusal clause did not permit removal

because “the defendants’ actions, rather than their inaction, are being chal-

lenged”).




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    B.    The Board faces no prospect of irreparable harm absent a
          stay.
    The Board claims that, “[w]ithout a stay,” the district court’s remand

order “could” render its “’appeal nugatory by prematurely returning the case

to the state court.’” Mot. at 22 (emphasis added). But as an initial matter, the

“the fact that an appeal may become moot without a stay does not alone

constitute irreparable harm.” In re Alpha Nat’l Res., Inc., 556 B.R. 249, 264

(Bankr. E.D. Va. 2016).
    In any event, none of the Board’s concerns justify a stay. First, the

Board’s argument that it will suffer irreparable harm at bottom rests on the

faulty premise that the Supreme Court of North Carolina is not competent
to decide the ancillary federal questions the Board has injected into this case.

Not so. That court is well positioned to address those questions. “State courts

are adequate forums for the vindication of federal rights.” Burt v. Titlow, 571
U.S. 12, 19 (2013). The Supreme Court has “consistently held that state courts

have inherent authority, and are thus presumptively competent, to adjudi-

cate claims arising under the laws of the United States.” Tafflin v. Levitt, 493

U.S. 455, 458 (1990). And the Supreme Court has repeatedly reaffirmed that

“‘there is no intrinsic reason why the fact that a man is a federal judge should

make him more competent, or conscientious, or learned . . . than his neigh-

bor in the state courthouse.’” Titlow, 571 U.S. at 19 (quoting Stone v. Powell,

428 U.S. 465, 494, n. 35 (1976)). Indeed, Justice Allen concurred in the Su-

preme Court’s order granting a stay to “stress” that that order “should not



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be taken to mean that Judge Griffin will ultimately prevail on the merits,”

and that the stay simply gives that court “adequate time to consider the ar-

guments made by Judge Griffin in his petition[.]” Griffin v. State Bd. of Elecs.,

No. 25-1020 (4th Cir.), Dkt. 7 at 17. Moreover, Justices Earl and Dietz dis-

sented, expressing doubts that Judge Griffin will succeed on the merits of

some or all his claims. Id. at 21-25, 27. Although Judge Griffin disagrees with

that conclusion, these separate opinions clearly indicate that the Supreme
Court of North Carolina is considering this case in a “conscientious” man-

ner. Titlow, 571 U.S. at 19.

    Second, even if this Court could “order a district court to retrieve an

improperly remanded case,” Mot. at 23, as the final disposition to this ap-

peal, it cannot order that effectively injunctive relief now. Stays are used to

prevent a lower court’s ruling from “go[ing] into effect,” Texas, 144 S. Ct. at
798 (Barrett, J., concurring in denial of applications to vacate stay), not to

order a district court to undertake affirmative acts, see Nken, 556 U.S. at 429

(explaining that unlike an injunction, a stay does not “direct[] an actor’s con-

duct”); Kansas v. United States, No. 24-3521, 2024 WL 5242428, at *1 (8th Cir.

Dec. 23, 2024) (same).

    Third, the Board complains that without a stay, “if this Court were to

ultimately reverse, the district court and state court would need to sort out

what to make of the state-court proceedings that have transpired in the

meantime.” Mot. at 24. But a stay cannot prevent state-court proceedings

from occurring because they have already occurred. The Supreme Court of

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North Carolina has already “entered rulings . . . in the interim period,”

Northrop Grumman Tech. Servs., Inc. v. DynCorp Int’l LLC, No. 1:16-cv-534,

2016 WL 3346349, at *4 (E.D. Va. June 16, 2016)—including an order prohib-

iting the Board from issuing a certificate of election. Granting a stay would

therefore force the state and federal courts into the very “rat’s nest of comity

and federalism issues” that the Board says it wants to avoid, Mot. at 24 (ci-

tation omitted).

    C.    The relief the Board requests will irreparably harm Judge
          Griffin and will not serve the public interest.
    A stay, which merely prevents an order from taking effect, would have

no real-world consequences at this point, so it would neither prevent irrep-
arable harm to the Board nor impose irreparable harm on Judge Griffin. But

to the extent the Board’s request goes beyond a stay and takes the form of

what the Board calls a “retrieval” order, that remedy would inflict irrepara-
ble harm on Judge Griffin and harm the public interest.

    As the Board conceded below, Judge Griffin faces obvious irreparable

harm from the Board’s effort to certify the election based on unlawful votes.

See Mot. App’x at 76 (“The Board does not dispute that certification will

moot Petitioner’s protests, and that this eventuality constitutes irreparable

harm.”). Remanding the matter to the Supreme Court of North Carolina has

avoided this irreparable harm by allowing that Court to enter a temporary

stay maintaining the status quo. Mot. App’x at 91-92. A stay of the remand




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order would not accomplish anything, see supra Part I.A, but any relief be-

yond a stay would upend the status quo.

       Moreover, the public interest favors allowing North Carolina courts to

quickly decide pressing questions of North Carolina law. See Pennhurst, 465

U.S. at 106; Nat’l Tea Co., 309 U.S. at 557. And if in doing so those courts must

decide whether to reject the Board’s purported federal defenses, that too will

serve the public interest. For state courts are perfectly “adequate forums for
the vindication of federal rights.” Titlow, 571 U.S. at 19.

       As the Supreme Court of North Carolina has already determined on re-

mand, “this matter should be addressed expeditiously because it concerns

certification of an election.” Mot. App’x at 91. Indeed, Justice Riggs in her

motion to expedite briefing acknowledges that the public has a strong inter-

est in “finality and speed” in this case. Dkt. 18 at 5. Judge Griffin agrees—
and the way to promote those virtues is allow state courts to resolve the mer-

its.

       The Supreme Court of North Carolina stands ready to decide Judge

Griffin’s claims in the “fast-paced” manner contemplated by the state’s elec-

tion laws. Bouvier v. Porter, 900 S.E.2d 838, 850 (N.C. 2024). Indeed, given its

briefing order, that court will almost certainly decide this case once and for

all in time for the prevailing candidate to participate in the Supreme Court’s

first sitting on February 11, 2025. Dkt. 18 at 6. A federal forum cannot offer

such a swift resolution. Therefore, a stay will not serve the public interest.



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                          C ONCLUSION
 The Board’s motion for a stay should be denied.




                                     Respectfully submitted.

                                     /s/ William T. Thompson
Mark M. Rothrock                     William T. Thompson
LEHOTSKY KELLER COHN LLP              Counsel of Record
8513 Caldbeck Drive                  Kyle D. Hawkins
Raleigh, NC 27615                    LEHOTSKY KELLER COHN LLP
(336) 416-3326                       408 W. 11st Street, 5th Floor
mark@lkcfirm.com                     Austin, TX 78701
                                     (512) 693-8350
                                     kyle@lkcfirm.com

                                     Counsel for Petitioner-Appellee




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                        C ERTIFICATE OF S ERVICE
    I certify that on January 14, 2025, this brief was served via CM/ECF on

all registered counsel and transmitted to the Clerk of the Court.


                                           /s/ William T. Thompson
                                           William T. Thompson

                     C ERTIFICATE OF C OMPLIANCE
    Undersigned counsel certifies that this motion complies with Fed. R.

App. P. 27(d)(2)(C), 32(a)(5), 32(g)(1), and Local Rule 27.

    Dated: January 14, 2025
                                           /s/ William T. Thompson
                                           William T. Thompson




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